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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                       CASE NO: 21-94 RBW
v.

ANTHONY MARIOTTO
      Defendant.
__________________________/

                    MOTION FOR DISBURSEMENT OF BOND

      Comes now, the Defendant, ANTHONY MARIOTTO, by and through

undersigned counsel and files this Motion for Disbursement of Bond in the above case.

As grounds for said Motion, the Defendant would state:

      1. On January 21, 2021, the Defendant was charged with knowingly entering or

remaining in any restricted building or grounds without lawful authority, in violation

of 18 USC §1752(a)(1) and (2), and violent entry and disorderly conduct on capitol

grounds, in violation of 40 USC §5104(e)(2)(B), (D), and (G) (Doc. No. 1.) The Complaint

was issued out of the District of Columbia.

      2. On January 22, 2021, the Defendant had his initial appearance in the Southern

District of Florida pursuant to Federal Rule of Criminal Procedure 5(c)(3). See (*United

States v. Anthony Mariotto, 21 MJ-0004 SMM -Southern District of Florida-Doc. No.3). The

Defendant waived his right to an identity hearing and consented to the removal of his

case to the District of Columbia. (Id. at - Doc. No. 5). The United States recommended

that the Defendant be released on a $250,000.00/10% cash bond with standard reporting
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conditions and a special condition prohibiting him from possessing any firearms while

his case is pending. The Court ultimately agreed with the bond recommendation and

ordered the Defendant to appear via Zoom on January 29, 2021 for further proceedings

in the District of Columbia. (Id. at -Doc. No.4). The Court also imposed Several

Conditions of Bond.

       3. On January 25, 2021, the Court entered an Order of Removal transferring the

case to the District of Columbia (Id. at -Doc. No.6). The Order of Removal expressly

provides that “[a]ll funds and documents filed with the Clerk of Court in this case shall

be transferred to the district where the charge is outstanding.” (Id.)

       4. On January 29, 2021, the Defendant appeared in the District of Columbia

before the Honorable G. Michael Harvey, a United States Magistrate Judge. Judge

Harvey ordered the Defendant released on personal recognizance bond with certain

conditions and restrictions. Judge Harvey did not require the Defendant to post a

monetary bond. See United States v. Mariotto, 1:21 cr-94 (D.D.C 2021).

       5. On February 5, 2021, the Defendant filed a Motion for Disbursement (See

Appendix #1) requesting the Court to release the $25,000.00 bond posted in the

Southern District of Florida. See (*United States v. Anthony Mariotto, 21 MJ-0004 SMM -

Southern District of Florida- Doc. No.10). The Government consented to this request after

discussing the matter with the Assistant United States Attorney in the District of

Columbia.
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       6. On February 22, 2021, United States Magistrate Judge Shaniek M. Maynard

entered a paperless Order denying without prejudice the Defendant’s Motion for

Disbursement of Bond Monies for reasons stated in the Governments Response (Id. at -Doc.

No. 12). Defense counsel may elect to re-file this request before the United States District

Court for the District of Columbia where the charges are currently pending. (Id. at -Doc.

No.13).

       7. Undersigned counsel has spoken with to Assistant United States Attorney,

Kimberley Nielsen, who does not object to the Court entering an Order releasing the funds.

       WHEREFORE, the Defendant respectfully requests that this Court enter an Order

granting Defendant’s Motion for Disbursement of Bond in the above case.

DATED; 4th day of MARCH 2021.

                                          /s/:Edward D. Reagan Esq.
                                          Signature of Attorney
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                                          Attorney Name
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